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    Attorneys for Defendants
  9
 10                      UNITED STATES DISTRICT COURT
 11                     CENTRAL DISTRICT OF CALIFORNIA
 12                             SOUTHERN DIVISION
 13
 14 JANE DOE, on behalf of herself and all   Case No. 8:21-cv-00338-CJC-ADS
    others similarly situated,
 15                                          STATEMENT OF
                 Plaintiff,                  UNCONTROVERTED FACTS IN
 16                                          SUPPORT OF MOTION FOR
            v.                               SUMMARY JUDGMENT OF
 17                                          DEFENDANTS MINDGEEK USA
    MINDGEEK USA INCORPORATED,               INC., MINDGEEK S.A.R.L., MG
 18 et al.,                                  FREESITES LTD, MG FREESITES
                                             II LTD, 9219-1568 QUEBEC INC.,
 19              Defendants.                 AND MG CONTENT RT LTD
 20                                          Judge: Hon. Cormac J. Carney
                                             Hearing Date: June 3, 2024
 21                                          Hearing Time: 1:30 p.m.
 22                                          Complaint Filed: February 19, 2021
                                             Trial Date: August 20, 2024
 23
 24     REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL

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                                                            Case No. 8:21-cv-00338-CJC-ADS
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  1                            UNCONTROVERTEDFACTS
  2          Pursuant to Local Rule 56-1 , defendants MindGeek USA Inc., MindGeek
  3 S.a.r.l., MG Freesites Ltd, MG Freesites II Ltd, 9219-1568 Quebec Inc., and MG
  4 Content RT Ltd (collectively, "Defendants") submit the following statement of
  5 uncontroverted facts in support of their motion for summary judgment:
  6   SUF
      NO.       DEFENDANTS' FACT                           EVIDENCE
  7
        I. MindGeek Is Entitled to Judgment on Plaintiff's Sex-Trafficking Claim
  8
                               Under 18 U.S.C. §§ 1591 and 1595
  9
        1.    Plaintiff was born on                  Plaintiff Tr. 12:5-6 (Williams Dec. Ex.
 10
                                                    A).
 11
       2.     1111 is Plaintiffs ex-boyfriend.       Plaintiff Tr. 46:20-24, 54:2-11
 12
                                                     (Williams Dec. Ex. A).
 13
       3.     Plaintiff met-when they were           Plaintiff Tr. 17:18-21, 47:8-48:2
 14
              both in high school.                   (Williams Dec. Ex. A); Plaintiff Dep.
 15
                                                     Ex. 14 at '084 (Williams Dec. Ex. N).
 16
        4.    Plaintiff and 1111 graduated from      Plaintiff Tr. 17:18-21, 47:8-48:2
 17
              high school in the same year, 1111·    (Williams Dec. Ex. A).
 18
       5.     Plaintiff began datingllll in          Plaintiff Tr. 17:18-21, 48:11-15,
 19
                                                     68:13-69:15 (Williams Dec. Ex. A);
 20
                                                     Plaintiff Dep. Ex. 11 at '289
 21
                                                     (Williams Dec. Ex. L); PlaintiffDep.
 22
                                                     Ex. 14 at '084 (Williams Dec. Ex. N).
 23
       6.     Plaintiff ended her relationship       Plaintiff Tr. 60:5-12, 87:12-15
 24
              withllll on                            (Williams Dec. Ex. A); Third
 25
                                                    Amended Complaint ,r 142; Plaintiff
 26
                                                     Dep. Ex. 11 at '289 (Williams Dec.
 27
 28
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  1   SUF
      NO.         DEFENDANTS' FACT                                 EVIDENCE
  2
                                                     Ex. L); Plaintiff Dep. Ex. 14 at ' 084
  3
                                                     (Williams Dec. Ex. N).
  4
       7.    Plaintiff alleges that, on occasion,    Plaintiff Tr. 79:13-1 6, 79:22-25, 80:2-
  5
             1111 would film them having sex.        3, 82: 11 -1 9, 83:21-23 (Williams Dec.
  6
                                                     Ex. A); MG-DOE_0000002 at 2
  7
                                                     (Williams Dec. Ex. 0 )
  8
  9
 10
 11
                                                                              ; Plaintiff Dep.
 12
                                                     Ex. 14 at '084 (Williams Dec. Ex. N);
 13
                                                     Third Amended Complaint ,r 141 .
 14
        8.                                           Plaintiff Tr. 81: 14-1 8 (Williams Dec.
 15
                                                     Ex. A).
 16
 17
 18
 19
       9.    According to Plaintiff, both she and MG-DOE_0000473 at '473 (William
 20
 21
             1111 were 17 years old when he          Dec. Ex. P)
             filmed them having sex.
 22
 23
 24
       10.   Plaintiff never questioned 1111 as      Plaintiff Tr. 81:22-24 (Williams Dec.
 25
             to why he made videos of them           Ex. A).
 26
             having sex.
 27
 28

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  1   SUF
      NO.       DEFENDANTS' FACT                                  EVIDENCE
  2
       11. Plaintiff gave 1111 permission to        Plaintiff Dep. Ex. 11 at '289 (Williams
  3
             record them having sex.                Dec. Ex. L)
  4
  5
  6
  7
                                                    DOE_0000002 at 2 (Williams Dec.
  8
                                                    Ex. 0)
  9
 10
 11
       12.   Plaintiff never told 1111 to not       Plaintiff Tr. 84: 1-2 (Williams Dec. Ex.
 12
             record them having sex.               A); Plaintiff Dep. Ex. 11 at '289
 13
                                                    (Williams Dec. Ex. L)
 14
 15
 16
 17
 18
 19
 20
 21
       13.   Plaintiff had no understanding as to Plaintiff Tr. 84:3-8 (Williams Dec. Ex.
 22
             whatllll would do with the            A).
 23
             videos of them having sex.
 24
       14.   Plaintiff never told 1111 what he      Plaintiff Tr. 84: 10-13 (Williams Dec.
 25
             could or could not do with the         Ex.A).
 26
             videos of them having sex.
 27
 28

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  1   SUF
      NO.       DEFENDANTS' FACT                                     EVIDENCE
  2
       15. Plaintiff never told 1111 that he          Plaintiff Tr. 84: 10-13 (Williams Dec.
  3
             could not post the videos of them        Ex.A).
  4
             having sex online.
  5
       16.   Plaintiff does not remember when         Plaintiff Tr. 79: 13-21 (Williams Dec.
  6
             1111 first began filming the videos      Ex.A).
  7
             of them having sex.
  8
       17.   Plaintiff does not remember the          Plaintiff Tr. 80:4-8 (Williams Dec. Ex.
  9
             time period when 1111 made the          A).
 10
             videos of them having sex.
 11
       18.   Plaintiff does not remember how          Plaintiff Tr. 82:20-83:19 (Williams
 12
             many times 1111 recorded them            Dec. Ex. A).
 13
             having sex.
 14
       19.   When they were having sex,               Plaintiff Tr. 84: 14-17 (Williams Dec.
 15
             Plaintiff never told 1111 she did        Ex.A).
 16
             not want to have sex.
 17
 18
       20.   1111 never forced Plaintiff to have      Plaintiff Tr. 84: 18-21 (Williams Dec.
             sex against her will.                    Ex.A).
 19
 20
       21.   1111 never conditioned anything          Plaintiff Tr. 84:23-85:2 (Williams
             on Plaintiff having sex with him.        Dec. Ex. A).
 21
 22
       22.   1111 never offered Plaintiff             Plaintiff Tr. 85:3-5 (Williams Dec. Ex.
             anything in exchange for having         A).
 23
             sex with him.
 24
 25
       23.   1111 never paid Plaintiff for sex        Plaintiffs 2nd Supplemental
             depicted in the Videos.                  Responses to Defendants' First Set of
 26
                                                      Interrogatories at Rog. No. 7
 27
                                                      (Williams Dec. Ex. G)
 28

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                                            DEFENDANTS' STATEMENT OF UNCONTROVERTED FACTS
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  1   SUF
      NO.         DEFENDANTS' FACT                                 EVIDENCE
  2
  3
  4
  5
  6
  7
  8
  9
 10
       24.   1111 never gave Plaintiff anything       Plaintiffs 2nd Supplemental
 11
             of value on account of any of the        Responses to Defendants' First Set of
 12
             sex depicted in the Videos.              Interrogatories at Rog. No. 7
 13
                                                      (Williams Dec. Ex. G)
 14
 15
 16
 17
 18
 19
 20
 21
 22
       25.   1111 never encouraged Plaintiff to       Plaintiff Tr. 85:6-8 (Williams Dec. Ex.
 23
             have sex with other people.             A).
 24
       26.   1111 never sold Plaintiff to             Plaintiff Tr. 85:9-12 (Williams Dec.
 25
             someone else for sexual                  Ex.A).
 26
             gratification.
 27
 28

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  1   SUF
      NO.       DEFENDANTS' FACT                             EVIDENCE
  2
       27. Plaintiff never received anything of Plaintiffs 2nd Supplemental
  3
             value on account of any of the sex        Responses to Defendants' First Set of
  4
             depicted in the Videos.                   Interrogatories at Rog. No. 7
  5
                                                       (Williams Dec. Ex. G)
  6
  7
  8
  9
 10
                                                                   ); Plaintiff Tr. 85:3-5,
 11
                                                       84:23-85:2 (Williams Dec. Ex. A).
 12
       28.   Plaintiff never gave 1111 anything        Plaintiffs 2nd Supplemental
 13
             of value on account of any of the         Responses to Defendants' First Set of
 14
             sex she engaged in with him.              Interrogatories at Rog. No. 7
 15
                                                       (Williams Dec. Ex. G)
 16
 17
 18
 19
 20
 21
 22
 23
       29.   1111 never received anything of           Plaintiffs 2nd Supplemental
 24
             value on account of the sex               Responses to Defendants' First Set of
 25
             depicted in the Videos.                   Interrogatories at Rog. No. 7
 26
                                                       (Williams Dec. Ex. G)
 27
 28

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  1   SUF
      NO.         DEFENDANTS' FACT                                     EVIDENCE
  2
  3
  4
  5
  6
  7
  8
                                                         MindGeek- 00338436 at '438-39
  9
                                                         (Williams Dec. Ex. Q) -
 10
 11
 12
 13
                                                        -         ); Ignatiou Dec. ,r 38 C"IIII
 14
                                                         did not receive any money from any
 15
                                                         MindGeek entity based on the Videos
 16
                                                         or any other content that he
 17
                                                        uploaded.").
 18
       30.   1111 did not recruit, entice, harbor,       Plaintiff Tr. 84:23-85:22 (Williams
 19
             transport, provide, obtain,                 Dec. Ex. A); MG-DOE_0000002 at 2
 20
             advertise, maintain, patronize, or          (Williams Dec. Ex. 0)
 21
             solicit Plaintiff to engage in a sex
 22
             act in or affecting interest or
 23
             foreign commerce.                                                      ); Plaintiff
 24
                                                         Dep. Ex. 14 at '085, ' 100 (Williams
 25
                                                         Dec. Ex. N)
 26
 27
 28

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  1   SUF
      NO.       DEFENDANTS' FACT                                    EVIDENCE
  2
       31. Plaintiff and 1111 never traveled          Plaintiffs 2nd Supplemental
  3
             out of the State of California (i.e.,    Responses to Defendants' First Set of
  4
             across state lines) to engage in the     Interrogatories at Rog. Nos. 2
  5
             sex acts depicted in the Videos.         (Williams Dec. Ex. G)
  6
                                                                                             );
  7
                                                      MG-DOE_0000002 at 2 (Williams
  8
                                                      Dec. Ex. 0)
  9
 10
                                                     -          )-
 11
       32.   None of the sex acts Plaintiff          Plaintiff Tr. 85:3-5, 84:23-85:2
 12
             engaged in shown in the Videos           (Williams Dec. Ex. A); Plaintiffs 2nd
 13
             were economic in nature.                 Supplemental Responses to
 14
                                                      Defendants' First Set of
 15
                                                      Interrogatories at Rog. No. 7
 16
                                                      (Williams Dec. Ex. G)
 17
 18
 19
 20
 21
                                                                    ); lgnatiou Dec. ,r 38
 22
                                                      ('. . . did not receive any money
 23
                                                      from any MindGeek entity based on
 24
                                                      the Videos or any other content that he
 25
                                                     uploaded.").
 26
       33.   -    uploaded the videos of him          Plaintiffs 2nd Supplemental
 27
             and Plaintiff having sex to the          Responses to Defendants' First Set of
 28

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   1   SUF
       NO.        DEFENDANTS' FACT                                    EVIDENCE
   2
             following websites at the following Interrogatories at Rog. Nos. 2, 3, 4
   3
             times:                                      (Williams Dec. Ex. G); Plaintiffs 3rd
   4
                                                        Supplemental Responses to
   5
                                                         Defendants' First Set of
   6
                                                         Interrogatories at Rog. Nos. 3, 4, 6
   7
                                                         (Williams Dec. Ex. H); PlaintiffDep.
   8
                                                         Ex. 14 at '084-85 (Williams Dec. Ex.
   9
                                                        N).
  10
  11
  12
  13
  14
  15
  16
  17
             -            (collectively, the
  18
             "Videos").
  19
       34.   During 2020, MG Freesites, Ltd              lgnatiou Dec. ,r 3; Franklin Dec. ,r 2;
  20
             ("MindGeek") operated                      Andreou Dec. ,r 14.
  21
             Pornhub.com, Redtube.com, and
  22
             Youpom.com.
  23
       35.   1111 uploaded the Videos to the             Plaintiff Tr. 138:16-23 (Williams Dec.
  24
             Internet over four years after his          Ex. A); Plaintiff Dep. Ex. 11 at '289
  25
             relationship with Plaintiff ended.          (Williams Dec. Ex. L); PlaintiffDep.
  26
                                                         Ex. 14 at '084-85 (Williams Dec. Ex.
  27
                                                         L); Plaintiffs 3rd Supplemental
  28

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   1   SUF
       NO.        DEFENDANTS' FACT                                  EVIDENCE
   2
                                                      Responses to Defendants' First Set of
   3
                                                      Interrogatories at Rog. No. 6
   4
                                                      (Williams Dec. Ex. H).
   5
       36.   Plaintiff believes 1111 uploaded         Plaintiff Tr. 99:2-6, 99:25-100:14
   6
             the Videos to the Internet because       (Williams Dec. Ex. A); PlaintiffDep.
   7
             he believed she                          Ex. 7 at ' 029 (Williams Dec. Ex. J)
   8
   9
  10         -·

  11
       37.   The term "teen" can refer to             lgnatiou 30(b)(l) Tr. 11 9:20-121:14
  12
             someone who is 18 or 19 years old.       (Williams Dec. Ex. F) ("[W]hen we
  13
                                                      say, 'teen,' we are not referring to . ..
  14
                                                      17, 16, 15, we are referring to 18, 19
  15
                                                     years old."); Franklin Tr. 30(b)(l)
  16
                                                      72:24-73: 15 (Williams Dec. Ex. D)
  17
                                                      ("In the adult industry, 'teen' is used
  18
                                                      to describe an individual who is
  19
                                                     between 18 and 25 years old").
  20
       38.   When llll uploaded the Videos of lgnatiou Dec. ,r 20.
  21
             Plaintiff, MindGeek did not know
  22
             that the Videos depicted a minor.
  23
       39.   There is nothing in the titles of the    PlaintiffTr. 147:23-149:13 (Williams
  24
             Videos indicating they depicted a        Dec. Ex. A); PlaintiffDep. Ex. 13 at 1
  25
             person under the age of 18.              (Williams Dec. Ex. M); Plaintiffs 2nd
  26
                                                     Supplemental Responses to
  27
                                                      Defendants' First Set of
  28

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   1   SUF
       NO.         DEFENDANTS' FACT                                     EVIDENCE
   2
                                                         Interrogatories at Rog. No. 3
   3
                                                         (Williams Dec. Ex. G);
   4
                                                         MindGeek_00338447 at 1 (Williams
   5
                                                         Dec. Ex. R).
   6
       40.   The title for one of the Videos             Plaintiff Dep. Ex. 13 at 1 (Williams
   7
             included the phrase " 18 year old."         Dec. Ex. M).
   8
       41.   None of the comments for the                Plaintiff Tr. 149:14-20 (Williams Dec.
   9
             Videos suggested they depicted a            Ex. A) (
  10
             person under the age of 18.
  11
  12
                                                         -           ); MindGeek_0053 1977
  13
                                                         (Williams Dec. Ex. V).
  14
       42.   According to Plaintiff, when she            Plaintiff Tr. 105:4-20 (Williams Dec.
  15
             was                                         Ex. A); PlaintiffDep. Ex. 7 at ' 1000
  16                                                 '
             she looked "the exact same" as she          (Williams Dec. Ex. J)
  17
             did in the Videos.
  18
  19
  20
       43.   It is not obvious that Plaintiff is a       Plaintiff Tr. 105:4-20, 147:23-149:1 3,
  21
             minor in the Videos.                        149: 14-20 (Williams Dec. Ex. A);
  22
                                                         Plaintiff Dep. Ex. 7 at '1000 (Williams
  23
                                                         Dec. Ex. J)
  24
  25
  26
  27                                                     -      )-

  28

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   1   SUF
       NO.      DEFENDANTS' FACT                                 EVIDENCE
   2
        44. MindGeek did not alter or edit the      lgnatiou Dec. ,r 33.
   3
             contents of the Videos depicting
   4
             Plaintiff.
   5
       45.   MindGeek had no role in filming        lgnatiou Dec. ,r 38.
   6
             the Videos depicting Plaintiff.
   7
       46.   MindGeek had no role in editing        lgnatiou Dec. ,r 38.
   8
             the Videos depicting Plaintiff.
   9
       47.   During the time period when 1111       lgnatiou Dec. ,r 21 ; lgnatiou 30(b)(6)
  10
             allegedly posted videos of Plaintiff   Tr. 86:4-87:6 (Williams Dec. Ex. E)
  11
             to MindGeek's sites, persons who       ("You agree to our terms of service
  12
             uploaded content to MindGeek's         that everyone is over 18 years old; that
  13
             sites were required to check a box     you have the documentation of the
  14
             indicating agreement to                people that are performing in the
  15
             MindGeek's Terms of Service.           video, the consent, that they are all
  16
                                                    over 18, that you agree to our CSAM
  17
                                                    policy or nonconsensual policy. Once
  18
                                                    you check all of those checkboxes,
  19
                                                    you upload the content.").
  20
       48.   Before 1111 allegedly uploaded the lgnatiou Dec. ,r 22; lgnatiou 30(b)(6)
  21
             Videos to MindGeek's sites, he         Tr. 86:8-87:6 (Williams Dec. Ex. E)
  22
             would have been required to check      ("You agree to our terms of service
  23
             a box indicating that he agreed to     that everyone is over 18 years old; that
  24
             MindGeek's Terms of Service,           you have the documentation of the
  25
             which prohibit the upload of           people that are performing in the
  26
             content depicting minors.              video, the consent, that they are all
  27
                                                    over 18, that you agree to our CSAM
  28

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   1   SUF
       NO.        DEFENDANTS' FACT                                  EVIDENCE
   2
                                                     policy or nonconsensual policy. Once
   3
                                                     you check all of those checkboxes,
   4
                                                     you upload the content.").
   5
       49.   During the time period when 1111         lgnatiou Dec. ,r 21;
   6
             allegedly posted videos of Plaintiff     MindGeek 00000635 at '645
   7
             to MindGeek's websites,                  (Ignatiou Dec. Ex. B); Moughrabi Tr.
   8
             MindGeek's Terms of Service for          194:7-20 (Williams Dec. Ex. B);
   9
             those sites prohibited "post[ing]       Franklin 30(b)(6) Tr. 271:19-272:7
  10
             any Content that depicts any person (Williams Dec. Ex. C); lgnatiou
  11
             under 18 years of age .. . whether       30(b)(6) Tr. 280:20-25 (Williams Dec.
  12
             real or simulated."                      Ex. E).
  13
       50.   During the time period whenllll          lgnatiou Dec. ,r 21 ;
  14
             allegedly posted videos of Plaintiff     MindGeek 00000635 at ' 645
  15
             to MindGeek's websites,                  (Ignatiou Dec. Ex. B).
  16
             MindGeek's Terms of Service for
  17
             those sites prohibited "post[ing]
  18
             any Content for which [the poster]
  19
             ha[d] not maintained written
  20
             documentation sufficient to
  21
             confirm all subjects of [the] posts
  22
             are, in fact, over 18 years of age."
  23
       51.   During the time period whenllll          lgnatiou Dec. ,r 6; lgnatiou 30(b)(6)
  24
             allegedly posted videos of Plaintiff     Tr. 213:13-216:7 (Williams Dec. Ex.
  25
             to MindGeek's websites,                  E).
  26
             MindGeek employed content
  27
             moderators to screen each video
  28
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   1   SUF
       NO.            DEFENDANTS' FACT                              EVIDENCE
   2
             that was uploaded to MindGeek's
   3
             sites.
   4
       52.   During the time period when 1111         lgnatiou Dec. ,r 7; lgnatiou 30(b)(6)
   5
             allegedly posted videos of Plaintiff     Tr. 195:22-197:24 (Williams Ex. E).
   6
             to MindGeek's sites, MindGeek's
   7
             content moderators were instructed
   8
             to take down videos if they had any
   9
             doubts as to the legality of the
  10
             video.
  11
       53.   MindGeek did not instruct or             lgnatiou Dec. ,r,r 34, 38.
  12
             encourage 1111 to post the Videos
  13
             to its websites.
  14
       54.   MindGeek did not instruct or             lgnatiou Dec. ,r,r 34, 38.
  15
             encourage 1111 to post child
  16
             pornography to its websites.
  17
       55.   MindGeek did not require 1111 to         lgnatiou Dec. ,r,r 34, 38.
  18
             upload the Videos to its websites.
  19
       56.   MindGeek did not require 1111 to         lgnatiouDec. ,r,r21, 22, 34, 38;
  20
             upload child pornography to its          MindGeek- 00000635 at '645
  21
             websites, and MindGeek's Terms           (Ignatiou Dec. Ex. B) ("You agree not
  22
             of Service, to whichllll agreed,         to use the Websites to . .. post any
  23
             prohibited the upload of child           Content that depicts any person under
  24
             pornography.                             18 years of age .. .. "); lgnatiou 30(b)(6)
  25
                                                      Tr. 86:4-87:6 (Williams Dec. Ex. E)
  26
                                                      ("You agree to our terms of service
  27
                                                      that everyone is over 18 years old; that
  28

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   1   SUF
       NO.        DEFENDANTS' FACT                                  EVIDENCE
   2
                                                      you have the documentation of the
   3
                                                      people that are performing in the
   4
                                                      video, the consent, that they are all
   5
                                                       over 18, that you agree to our CSAM
   6
                                                      policy or nonconsensual policy. Once
   7
                                                      you check all of those checkboxes,
   8
                                                      you upload the content.").
   9
       57.   As ofNovember 2019, and during            lgnatiou Dec. ,r 25; Franklin Dec.
  10
             the time period when 1111                ,r 16; Moughrabi Tr. 182:9-19, 183:8-
  11
             allegedly posted videos of Plaintiff      22 (Williams Dec. Ex. B); Franklin
  12
             to MindGeek's websites,                   30(b)(6) Tr. 12:3-14 (Williams Dec.
  13
             MindGeek used V obile, which uses Ex. C).
  14
             an exact hash matching algorithm
  15
             to fingerprint violating content and
  16
             identify such content when
  17
             reposted.
  18
       58.   As of January 2020, and during the        lgnatiou Dec. ,r 26; Franklin Dec.
  19
             time period when 1111 allegedly          ,r 17; Moughrabi Tr. 229:23-230:8
  20
             posted videos of Plaintiff to             (Williams Dec. Ex. B); Franklin
  21
             MindGeek's websites, MindGeek             30(b)(6) Tr. 24:2-5 , 38:6-16 (Williams
  22
             used Y ouTube CSAI Match, which           Dec. Ex. C).
  23
             is YouTube's proprietary
  24
             technology for combating child
  25
             sexual abuse imagery. Y ouTube
  26
             CSAI Match uses hash-matching to
  27
             identify known violative content
  28

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   1   SUF
       NO.        DEFENDANTS' FACT                                EVIDENCE
   2
             and allows users to identify this
   3
             type of violative content.
   4
       59.   Before Plaintiff requested that the     lgnatiou Dec. ,r,r 20, 29.
   5
             Videos be removed, MindGeek
   6
             knew of no facts suggesting the
   7
             Videos of Plaintiff depicted a
   8
             person under the age of 18.
   9
       60.   If MindGeek was aware of facts          lgnatiou Dec. ,r 29.
  10
             establishing that the Videos of
  11
             Plaintiff depicted a person under
  12
             the age of 18 at the time of upload,
  13
             MindGeek would not have allowed
  14
             the videos to go live.
  15
       61.   If MindGeek knew or had reason to lgnatiou Dec. ,r 32.
  16
             believe that the Videos of Plaintiff
  17
             were the product of sex trafficking,
  18
             MindGeek would not have allowed
  19
             the Videos to go live.
  20
       62.   In March 2020, Plaintiff learned        Plaintiff s 2nd Supplemental
  21
             the Videos depicting her were on        Responses to Defendants' First Set of
  22
             Pornhub .com.                           Interrogatories at Rog. No. 8
  23
                                                     (Williams Dec. Ex. G) -
  24
  25
  26
  27
                                                                    ); Plaintiff Dep. Ex. 11
  28

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   1   SUF
       NO.        DEFENDANTS' FACT                                EVIDENCE
   2
                                                     at '289 (Williams Dec. Ex. L)
   3
   4
   5
   6
   7
   8
       63.   On March 26, 2020, Plaintiff            Plaintiff Tr. 126:19-22 (Williams Dec.
   9
             requested that MindGeek remove          Ex. A); Plaintiff Dep. Ex. 9 at 1
  10
             four videos from Pornhub.com.           (Williams Dec. Ex. K).
  11
       64.   Within 6 ½ hours of Plaintiff           PlaintiffTr. 126:19-127:7, 129:5-7
  12
             requesting that MindGeek remove         (Williams Dec. Ex. A); Plaintiff Dep.
  13
             the four videos from Pornhub.com,       Ex. 9 at 1 (Williams Dec. Ex. K).
  14
             MindGeek removed the videos.
  15
       65.   MindGeek also told Plaintiff, "We       PlaintiffDep. Ex. 9 at 1 (Williams
  16
             have taken it upon ourselves to         Dec. Ex. K); Plaintiff Tr. 133:15-
  17
             fingerprint the content with Vobile     134:7, 165:6-18; 237:21-23 (Williams
  18
             on your behalf. This should             Dec. Ex. A); see also lgnatiou Dec.
  19
             effectively block future uploads of    ,r 30 ("MindGeek fingerprinted the
  20
             the video."                            Videos identified by Plaintiff to
  21
                                                    prevent future uploads.").
  22
       66.   On Saturday, March 28, 2020,            MindGeek- 0053 1976 at ' 976
  23
             Plaintiff requested that MindGeek       (Williams Dec. Ex. U).
  24
             remove an additional video from
  25
             Pornhub.com.
  26
       67.   On April 1, 2020, MindGeek told         MindGeek- 0053 1976 at ' 976
  27
             Plaintiff it had removed from           (Williams Dec. Ex. U).
  28

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   1   SUF
       NO.        DEFENDANTS' FACT                               EVIDENCE
   2
             Pornhub.com the additional video
   3
             that she requested be removed.
   4
       68.   When Plaintiff told MindGeek that      lgnatiou Dec. ,r 30; Plaintiff Dep. Ex.
   5
             the Videos of her depicted a minor,    9 at 1 (Williams Dec. Ex. K); Plaintiff
   6
             MindGeek removed the Videos            Dep. Ex. 13 at 1 (Williams Dec. Ex.
   7
             from its sites.                        M); Plaintiff Tr. 133: 15-134:7,
   8
                                                    237:21-23 (Williams Dec. Ex. A);
   9
                                                    MindGeek_00338447 (Williams Dec.
  10
                                                    Ex. T) (spreadsheet showing removal
  11
                                                    of video posted to Redtube.com);
  12
                                                    MindGeek_0049346 1 (Williams Dec.
  13
                                                    Ex._) (spreadsheet showing removal
  14
                                                    of video posted to Redtube.com);
  15
                                                    MindGeek_0053 1979 (Williams Dec.
  16
                                                    Ex. W) (spreadsheet showing removal
  17
                                                    of videos posted to Youporn.com);
  18
                                                    MindGeek_00338448 (Williams Dec.
  19
                                                    Ex. S) (spreadsheet showing removal
  20
                                                    of videos posted to Pornhub.com).
  21
       69.   MindGeek has removed all the           lgnatiou Dec. ,r 30; Plaintiff Tr.
  22
             Videos depicting Plaintiff from its    153:21-23
  23
             websites.
  24
  25
  26
  27
  28

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   1   SUF
       NO.        DEFENDANTS' FACT                               EVIDENCE
   2
   3
                                                                                       )
   4
                                                    (Williams Dec. Ex. A); Plaintiff Dep.
   5
                                                    Ex. 9 at 1 (Williams Ex. K);
   6
                                                    MindGeek- 0053 1976 at ' 976
   7
                                                    (Williams Ex. U); MG-DOE_ 0000002
   8
                                                    at 2 (Williams Dec. Ex. 0)
   9
  10
  11
  12
  13
       70.   MindGeek digitally fingerprinted       lgnatiou Dec. ,r 30 ("MindGeek
  14
             the Videos to prevent them from        fingerprinted the Videos identified by
  15
             being re-uploaded to its websites.     Plaintiff to prevent future uploads.");
  16
                                                    PlaintiffTr. 133 :15-134:7, 165:6-18
  17
                                                    (Williams Dec. Ex. A).
  18
       71.   Content depicting Plaintiff has not    PlaintiffTr. 136:6-9, 162:6-19,
  19
             been re-uploaded to any of             164:20-165 :18; 227:12-18, 262:19-24
  20
             MindGeek's websites after              (Williams Dec. Ex. A); MG-
  21
             MindGeek removed it.                   DOE_0000002 at 2 (Williams Dec.
  22
                                                    Ex. 0)
  23
  24
  25
  26
       72.   Plaintiff has never asked
  27
             MindGeek to remove content from
  28

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   1   SUF
       NO.        DEFENDANTS' FACT                               EVIDENCE
   2
             its sites and MindGeek refused to
   3
             take it down or delayed in taking it
   4
             down.
   5
                                                    (similar), 161:21 -162: 5 (similar)
   6
                                                    (Williams Dec. Ex. A); MG-
   7
                                                    DOE_0000002 at 2 (Williams Dec.
   8
                                                    Ex. 0)
   9
  10
  11
                                                                                 ) ; Plaintiff
  12
                                                    Dep. Ex. 9 (Williams Dec. Ex. K);
  13
                                                    MindGeek- 0053 1976 at '976
  14
                                                    (Williams Dec. Ex. U).
  15
       73.   MindGeek had no relationship,          lgnatiou Dec. ,r 38.
  16
             economic or otherwise, with
  17
             Plaintiff orllll when the two
  18
             filmed the Videos.
  19
       74.   - d i d not receive any money          lgnatiou Dec. ,r 39 C"IIII did not
  20
             from any MindGeek entity based         receive any money from any
  21
             on the Videos or any other content     MindGeek entity based on the Videos
  22
             that he uploaded to MindGeek's         or any other content that he
  23
             websites.                              uploaded."); MindGeek_00338436 at
  24
                                                    '438-39 (Williams Dec. Ex. Q) (email
  25
                                                    confirming t h a t - accounts were
  26
                                                    not model accounts and that they had
  27
  28

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   1   SUF
       NO.         DEFENDANTS' FACT                                  EVIDENCE
   2
                                                       no "Earnings History" or "Payment
   3
                                                       History").
   4
                                II. Section 230 Bars Plaintiff's Claims
   5
       75.    Defendants incorporate by                Defendants incorporate by reference
   6
              reference the following facts : 7, 8,    the evidence cited in support of the
   7
              11 , 33-35, 44-50, 53-56, 73 , 74.       following facts: 7, 8, 11, 33-35 , 44-
   8
                                                       50, 53-56, 73, 74.
   9
       76.    MindGeek's websites enable               lgnatiou Dec. ,r 3.
  10
              computer access by multiple users
  11
              to a computer server.
  12
       77.    Plaintiffs ex-boyfriend created the      Plaintiff Tr. 79: 13-16, 79:22-25, 80:2-
  13
              Videos.                                  3, 81: 14-18, 82:11-19, 83:21-23
  14
                                                       (Williams Dec. Ex. A).
  15
       78.    MindGeek did not choose the titles       lgnatiou Dec. ,r 36.
  16
              of the Videos depicting Plaintiff.
  17
       79.    Plaintiffs ex-boyfriend chose the        Plaintiff Tr. 146:24-147:7 (Williams
  18
              Videos' titles.                          Dec. Ex. A); lgnatiou Dec. ,r 36.
  19
        80.   MindGeek did not alter or edit the       lgnatiou Dec. ,r 33.
  20
              titles of the Videos depicting
  21
              Plaintiff to suggest they depicted
  22
              an underage person.
  23
        81.   None of the categories or tags for       lgnatiou Dec. ,r 35.
  24
              the Videos indicate that the Videos
  25
              are CSAM or child pornography.
  26
  27
  28

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   1   SUF
       NO.          DEFENDANTS' FACT                                 EVIDENCE
   2
       III. MindGeek Is Entitled To Judgment On Plaintiff's Claim Under 18 U.S.C.
   3
                                              § 2252A
   4
        82.   Defendants incorporate by              Defendants incorporate by reference
   5
              reference the following facts: 7-9,    the evidence cited in support of the
   6
              33 , 38-43, 47-60, 63-69, 72, 81.      following facts: 7-9, 33 , 38-43, 47-60,
   7
                                                     63 -69, 72.
   8
        83.   MindGeek did not know that             lgnatiou Dec. ,r 20 ("Whenllll
   9
              Plaintiff was underage in the          uploaded the Videos, MindGeek did
  10
              Videos while they were live on         not know that the Videos depicted a
  11
              MindGeek's sites.                      minor."), ,r 29 ("[I]f MindGeek had
  12
                                                     learned that the Videos of Plaintiff
  13
                                                     depicted a minor, MindGeek would
  14
                                                     have promptly removed the Videos for
  15
                                                     its sites.").
  16
          IV. MindGeek Is Entitled To Judgment On Plaintiff's Claim Under The
  17
                                   California Trafficking Act
  18
        84.   Defendants incorporate by              Defendants incorporate by reference
  19
              reference the following facts: 7, 8,   the evidence cited in support of the
  20
              10-15, 19-30, 32, 33, 38-69, 72, 73, following facts: 7, 8, 10-15, 19-30,
  21
              74.                                    32, 33 , 38-69, 72, 73, 74.
  22
        85.   Plaintiffs ex-boyfriend created the    Plaintiff Dep. Ex. 14 at '084 (Williams
  23
              Videos in or around 201 5.             Dec. Ex. N); MG-DOE_0000002 at 2
  24
                                                     (Williams Dec. Ex. 0 ).
  25
        86.   Plaintiff had no contact with          Plaintiff Tr. 126:19-22 (Williams Dec.
  26
              MindGeek until March 2020, when Ex. A); Plaintiff Dep. Ex. 9 at 1
  27
                                                     (Williams Dec. Ex. K).
  28
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   1   SUF
       NO.         DEFENDANTS' FACT                                EVIDENCE
   2
              she requested that Videos be
   3
              removed from Pornhub.com.
   4
        87.   MindGeek did not cause, induce, or Ignatiou Dec. ,r 38 ("MindGeek had
   5
              persuade Plaintiff to engage in any   no relationship, economic or
   6
              sex act with 1111                      otherwise, with Plaintiff or D .N. when
   7
                                                     they created the Videos.").
   8
              V. MindGeek Is Entitled To Judgment On Plaintiff's Claim Under
   9
                             California's Unfair Competition Law
  10
        88.   Defendants incorporate by              Defendants incorporate by reference
  11
              reference all facts set forth above    all evidence set forth above and in
  12
              and all facts in Parts VI and VII.     Parts VI and VII.
  13
        89.   MindGeek spends millions of            Ignatiou Dec. ,r 5~Franklin Dec. ,r,r 9,
  14
              dollars voluntarily searching for      10, Ex. A.
  15
              and removing apparent CSAM.
  16
       90.    During the time period whenllll        Ignatiou Dec. ,r,r 6, 7.
  17
              uploaded the Videos, MindGeek
  18
              employed moderators to review
  19
              every piece of content uploaded to
  20
              MindGeek's websites to determine
  21
              whether the content complied with
  22
              MindGeek's Terms of Service, and
  23
              the moderators were instructed to
  24
              remove content if there was any
  25
              doubt as to whether it depicted a
  26
              mmor.
  27
  28

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   1   SUF
       NO.       DEFENDANTS' FACT                                EVIDENCE
   2
        91. The following technologies were        Franklin Dec. ,r 17.
   3
             deployed on Pornhub.com on or
   4
             around the dates indicated: CSAI
   5
             Match/January 2020; Photo
   6
             DNA/March 2020; Google Content
   7
             Safety API/June 2020;
   8
             Safeguard/August 2020;
   9
             Yoti/December 2020; Safer by
  10
             Thom/January 2021; G2 Web
  11
             Services/February 2021; Microsoft
  12
             Azure Face API, plus MindGeek's
  13
             proprietary age estimation
  14
             capabilities/July 2021; Spectrum
  15
             Labs AI/September 2021 ; and
  16
             Instant Image Identifier/December
  17
             2022. Because Redtube.com and
  18
             Youpom .com stopped accepting
  19
             content for upload in December
  20
             2020, technologies deployed on
  21
             Pornhub after that date were not
  22
             deployed separately on those
  23
             websites.
  24
       92.   Upon Plaintiffs request,               Ignatiou Dec. ,r 30; Plaintiff Dep. Ex.
  25
             MindGeek removed the Videos and 9 at 1 (Williams Dec. Ex. K); Plaintiff
  26
             fingerprinted them to prevent          Tr. 133:15-1 34:7, 165 :6-18; 237 :21 -23
  27
             future uploads.                        (Williams Dec. Ex. A); see also
  28

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   1   SUF
       NO.         DEFENDANTS' FACT                                EVIDENCE
   2
                                                     lgnatiou Dec. ,r 30 ("MindGeek
   3
                                                     fingerprinted the Videos identified by
   4
                                                     Plaintiff to prevent future uploads.").
   5
       VI. MindGeek Is Entitled To Judgment On Plaintiff's Claim For Distribution
   6
                                  Of Private Sexual Material
   7
       93.   Defendants incorporate by               Defendants incorporate by reference
   8
             reference the following facts: 7-1 5, the evidence cited in support of the
   9
             19, 20, 33, 34, 38-43 , 47-50, 59-69, following facts: 7-15, 19, 20, 33, 34,
  10
             72.                                     38-43, 47-50, 59-69, 72.
  11
       94.   During the time period whenllll         lgnatiou Dec. ,r 23 ;
  12
             allegedly posted videos of Plaintiff    MindGeek 00000635 at '641
  13
             to Pornhub.com, Redtube.com, and (Ignatiou Dec. Ex. B).
  14
             Youpom.com, MindGeek's Terms
  15
             of Service for those sites provided:
  16
             "You affirm, represent, and warrant
  17
             that you own or have the necessary
  18
             licenses, rights, consents, and
  19
             permissions to publish Content you
  20
             submit."
  21
       95.   Whenllll uploaded the Videos to         lgnatiou Dec. ,r 23 ;
  22
             MindGeek's sites, he represented        MindGeek 00000635 at '641
  23
             to MindGeek that he had "the            (Ignatiou Dec. Ex. B).
  24
             necessary licenses, rights, consents,
  25
             and permissions to publish Content
  26
             you submit."
  27
  28
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   1   SUF
       NO.       DEFENDANTS' FACT                                     EVIDENCE
   2
        96. Before the Videos were made                Plaintiffs 2nd Supplemental
   3
             available for viewing on                  Responses to Defendants' First Set of
   4
             MindGeek's websites, they were            Interrogatories at Rog. Nos. 2, 3, 4
   5
             distributed by Plaintiffs ex-             (Williams Dec. Ex. G); Plaintiffs 3rd
   6
             boyfriend and made available for          Supplemental Responses to
   7
             viewing on websites not operated          Defendants' First Set of
   8
             by MindGeek, including Gfycat             Interrogatories at Rog. Nos. 3, 4, 6
   9
             and Reddit.                               (Williams Dec. Ex. H); PlaintiffDep.
  10
                                                       Ex. 14 at '084-85 (Williams Dec. Ex.
  11
                                                       N); PlaintiffDep. Ex. 11 at '291
  12
                                                       (Williams Dec. Ex. L) -
  13
  14
  15
  16
  17
                                                       -          ; Plaintiff Tr. 94:21-24
  18
                                                       (Williams Dec. Ex. A)
  19
  20
  21
  22                                                   -          ·
       97.   The removal requests Plaintiff sent       PlaintiffDep. Ex. 9 (Williams Dec.
  23
             to MindGeek were not made by              Ex. K); MindGeek_00531976 at '976
  24
             certified mail.                           (Williams Dec. Ex. U).
  25
       98.   MindGeek removed the Videos               Plaintiff Tr. 129:24-130:5, 161:5-11 ,
  26
             identified by Plaintiff in her            161:21-162:5 (Williams Dec. Ex. A);
  27
                                                       MG-DOE_0000002 at 2 (Williams
  28

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   1   SUF
       NO.        DEFENDANTS' FACT                                   EVIDENCE
   2
             removal requests within 4 days of        Dec. Ex. 0 )
   3
             receiving the requests.
   4
   5
                                                                                     ; Plaintiff
   6
                                                      Dep. Ex. 9 (Williams Dec. Ex. K);
   7
                                                      MindGeek 0053 1976 at ' 976
   8
                                                      (Williams Dec. Ex. U).
   9
       VII. MindGeek Is Entitled To Judgment On Plaintiff's Claim For Intentional
  10
                               Infliction Of Emotional Distress
  11
       99.   Defendants incorporate by                Defendants incorporate by reference
  12
             reference the following facts: 33 ,      the evidence cited in support of the
  13
             38, 39, 40-61, 63 -70, 72, 73, 83,       following facts: 33, 38, 39, 40-61, 63-
  14
             86, 89-92, 94, 95 .                      70, 72, 73 , 83 , 86, 89-91, 93, 94.
  15
       100. MindGeek fingerprinted the Videos lgnatiou Dec. ,r 30.
  16
             depicting Plaintiff to prevent future
  17
             uploads.
  18
       101. MindGeek did not intend to harm           lgnatiou Dec. ,r,r 20, 30.
  19
             Plaintiff, including because
  20
             MindGeek did not know that the
  21
             Videos of Plaintiff depicted a
  22
             minor when-uploaded them
  23
             and MindGeek removed the Videos
  24
             upon Plaintiffs request.
  25
       102. MindGeek did not act in reckless          lgnatiou Dec. ,r,r 20, 30.
  26
             disregard as to whether it would
  27
             harm Plaintiff, including because
  28
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   1    SUF
        NO.        DEFENDANTS' FACT                                  EVIDENCE
   2
              MindGeek did not know that the
   3
              Videos of Plaintiff depicted a
   4
              minor when- u p loaded them
   5
              and MindGeek removed the Videos
   6
              upon Plaintiffs request.
   7
   8
       DATED: April 19, 2024               QUINNEMANUELURQUHART&
   9                                       SULLIVAN, LLP
  10
  11                                           By         Isl Michael Williams
  12                                                Michael T. Zeller
                                                    Michael E. Williams
  13                                                Diane Cafferata
  14                                                Dylan C. Bonfigli
                                                    Attorneys for Defendants
  15
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                                          DEFENDANTS' STATEMENT OF UNCONTROVERTED FACTS
